Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 1 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 2 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 3 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 4 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 5 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 6 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 7 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 8 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 9 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 10 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 11 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 12 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 13 of 14
Case 4:10-cv-03140 Document 34 Filed on 09/20/11 in TXSD Page 14 of 14
